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                        Exhibit A
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION



COIN CENTER; PATRICK
O’SULLIVAN; JOHN DOE; and
DAVID HOFFMAN,
               Plaintiffs,                 Case No.
                                           3:22-cv-20375-TKW-ZCB
                   v.

JANET YELLEN, in her official
capacity as Secretary of the Treasury;
DEPARTMENT OF THE
TREASURY; ANDREA M. GACKI,
in her official capacity as Director of
the Office of Foreign Assets Control;
and OFFICE OF FOREIGN
ASSETS CONTROL,
                      Defendants.


                         EXPERT DECLARATION OF
                         PETER VAN VALKENBURGH
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I, Peter Van Valkenburgh, declare as follows:

                     BACKGROUND AND QUALIFICATIONS

       1.       I am over the age of 18, of sound mind, and otherwise competent to

sign this declaration.

       2.       I am the Director of Research at Coin Center, the leading non-profit

research and advocacy center focused on the public policy issues facing

cryptocurrency and decentralized computing technologies such as Bitcoin, Ethereum,

and the like.

       3.       I received a B.S. in economics from George Mason University.

       4.       I received a J.D. from NYU School of Law.

       5.       I am a full-time employee of Coin Center and am not being paid

separately for my study and testimony in this case. My compensation is not contingent

on the results of my analysis or the substance of my testimony.

       6.       I have held that role for the past nine years. My primary duties in that

role have included researching cryptocurrency technology and associated legal and

regulatory topics, consulting with cryptocurrency experts, and educating policymakers

and the public about cryptocurrency technology through articles, lectures, and

testimony.

       7.       I have been called to testify before Congress about cryptocurrency

technology five times.



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       8.     I testified before the Congress Joint Economic Committee on

“Demystifying Crypto: Digital Assets and the Role of Government” on November 17,

2021. Demystifying Crypto: Digital Assets and the Role of Government: Hearing Before Cong.

Joint Economic Committee, 117th Cong. (Nov. 17, 2021).

       9.     I testified before the House of Representatives Committee on Financial

Services Subcommittee on Oversight and Investigations on “America on “FIRE”: Will

the Crypto Frenzy Lead to Financial Independence and Early Retirement or Financial

Ruin?” on June 30, 2021. America On ‘‘Fire’’: Will The Crypto Frenzy Lead To Financial

Independence and Early Retirement Or Financial Ruin? Hybrid Hearing Before ofHouse Comm.

On Financial Services Subcomm. on Oversight and Investigations, 117th Cong. (June 30, 2021).

       10.    I testified before the Senate Committee on Banking, Housing, and

Urban Affairs on “Exploring the Cryptocurrency and Blockchain Ecosystem” on

October 11, 2018. Exploring the Cryptocurrency and Blockchain Ecosystem: Hearing Before

Senate Committee on Banking, Housing, and Urban Affairs, 115th Cong. (Oct. 11, 2018).

       11.    I testified before the House Subcommittee on Capital Markets,

Securities, and Investments on “Examining Cryptocurrencies and ICO Markets” on

March 16, 2018. Examining the Cryptocurrencies and ICO Markets: Hearing Before House

Subcomm. on Capital Markets, Securities, and Investments, 115th Cong. (Mar. 16, 2018).

       12.    I testified before the House Subcommittee on Digital Commerce and

Consumer Protection on “Improving Consumers’ Financial Options with Fintech” on

June 8, 2017. See Disrupter Series: Improving Consumers’ Financial Options With Fintech:

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Hearing Before H. Subcomm. on Digital Commerce and Consumer Protection, 115th Cong. (June

8, 2017).

       13.       My testimony to Congress has included providing an account of the

specific technological concepts underlying this case—the Ethereum network and

smart contracts. See Disrupter Series: Improving Consumers’ Financial Options With Fintech:

Hearing Before H. Subcomm. on Digital Commerce and Consumer Protection, 115th Cong. (June

8, 2017).

       14.       I have not testified as an expert at trial or by deposition in other cases

during the past 4 years.

       15.       I am a member of the CFTC’s Technology Advisory Committee’s

Subcommittee on Virtual Currencies.

       16.       I have guest lectured about cryptocurrency at various law schools and

engineering schools, including Yale, Harvard, NYU, Columbia, Cornell, Carnegie

Mellon, U.C. Berkeley, and the University of Maryland.

       17.       Defendants, in the Evidentiary Memorandum underlying the challenged

designation, relied on my work. Defendants’ memorandum cites my work for a wide

range of propositions about how the challenged 29 addresses (hereinafter the Tornado

Cash Tool) function. Defendants’ Evidentiary Memorandum cited my work about

fifteen times.

       18.       My work has been cited or I have been interviewed as an expert in

cryptocurrency technology and policy by The New York Times, The Wall Street

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Journal, NPR, Bloomberg, Wired Magazine, the MIT Technology Review, C-SPAN’s

Washington Journal, The Economist, and The Financial Times.

        19.     The Congressional Research Service has published at least four reports

on various topics related to cryptocurrency that cite my research. See Perkins, Cong.

Research Serv., R45427, Cryptocurrency: The Economics of Money and Selected Policy Issues

(2018); Su, Cong. Research Serv., R46208, Digital Assets and SEC Regulation (2021);

Sykes, Cong. Research Serv., R45664, Virtual Currencies and Money Laundering: Legal

Background, Enforcement Actions, and Legislative Proposals (2019); Sykes, Cong. Research

Serv., R45301, Securities Regulation and Initial Coin Offerings: A Legal Primer (2018).

        20.     My work has been cited by SEC Commissioners, see e.g. Hester M. Peirce,

Commissioner, Securities & Exchange Comm’n, Remarks at Protecting the Public While

Fostering Innovation and Entrepreneurship: First Principles for Optimal Regulation (Feb. 18,

2019), and Treasury Officials, see e.g. Mnuchin & Phillips, Report to President Donald J.

Trump: A Financial System that Creates Economic Opportunities: Nonbank Financials, Fintech,

and Innovation, Dep’t of Treasury (July 2018), perma.cc/FNN8-HEVX. I’ve spoken at

events and on podcasts hosted by the FTC and CFTC. See e.g. FTC, FinTech Forum:

Artificial    Intelligence   and   Blockchain       –   Peter   Van    Valkenburgh        (2017),

perma.cc/96QS-ZQNT; CFTC, CFTC Talks EP066: Coincenter.org Peter Van

Valkenburgh (Oct. 5, 2018), perma.cc/J5TF-BP8A; CFTC, CFTC Talks EP024:

Coincenter.org Peter Van Valkenburgh (Dec. 28, 2017), perma.cc/M9FV-BPXT.



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       21.    In the past ten years, I have published many articles on cryptocurrency.

My publications are too numerous to include in-text, but are listed in Appendix A to

this declaration.

       22.    In preparing this declaration and studying this issue, I reviewed the

following materials: Nikolaenko et al., Powers-of-Tau to the People: Decentralizing Setup

Ceremonies, Int’l Ass’n for Cryptological Research (2022), perma.cc/7MPT-9VE2;

Pertsev et al., Tornado Cash Privacy Solution Version 1.4 (Dec. 17, 2019),

perma.cc/GR3V-HJFQ; Nadler & Schar, Tornado Cash and Blockchain Privacy: A Primer

for Economists and Policymakers, Federal Reserve Bank of St. Louis Rev. (2023),

perma.cc/PD3G-7NVS;         Etherscan,   Tornado.cash,    etherscan.io/accounts/label/

tornado-cash; Garman et al., Zerocoin: Anonymous Distributed E-Cash from Bitcoin, 2013

IEEE Symposium on Security and Privacy, Berkeley 397 (2013); Ben-Sasson, Zerocash:

Decentralized Anonymous Payments from Bitcoin, 2014 IEEE Symposium on Security and

Privacy 459 (2014); GitHub, “tornadocash/docs,” perma.cc/5NRV-3CER (the public

software repository documenting the Tornado Cash software); OFAC’s Evidentiary

Memorandum; and many of the exhibits to OFAC’s Evidentiary Memorandum. I also

drew on my years of study and experience, which have made me fluent in the

technology underlying this case.

       23.    I arrived at my conclusions in this report by applying accepted principles

of cryptography and computing to the technology underlying this case.



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                                     ETHEREUM

       24.    Ethereum is a network of computers on the internet. The computers

collectively work together to create a shared public database of user data, including

personal financial transactions. That database is typically referred to as Ethereum’s

“blockchain,” a term of art referencing the specific technological methods used to

encode and verify the data in the database, or “public ledger,” another term of art

referencing the fact that much, though not all, of that data is financial in nature.

       25.    Centralized online service providers like Facebook or Paypal also

maintain databases that record user data. Like those databases, Ethereum’s public

ledger contains social interaction data about its users, such as the messages that one

user has sent to another user or the metadata concerning photos, affinities, or writings

that a user has shared about herself. It also contains financial data about its users, such

as the amounts and currency denominations that one user has paid to another.

       26.    Unlike Facebook or PayPal’s databases, however, no single company or

person controls Ethereum’s public ledger. Instead, users are directly and solely in

control of their own data, and these same users are free to participate with the larger

network in order to distribute, continually update, verify, and secure the public ledger

across the entire network of computers for the benefit of all of its users.

       27.    Ethereum is used by tens of millions of Americans. It facilitates

transactions involving ether, the second most common cryptocurrency in America. It



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also facilitates transactions involving a wide range of additional crypto assets often

referred to generally as “tokens.”

       28.    To use Ethereum, a person need only have an internet-connected device

and freely available software. That software is free as in gratis, i.e. it is available for

users to download from a multitude of sources without any cost. It is also free as in

freedom, i.e. it is released under open-source copyright licenses that allow anyone to

use, modify, distribute, and copy it without permission and as they see fit.

       29.    Using this free software on his own computer, a person can begin

transacting on Ethereum. As a first step he must have his computer generate an

Ethereum address and a corresponding “private key.” The address is a random but

unique number that will represent the user on the Ethereum network. This address is

a pseudonym, meaning that it does not immediately reveal the real identity of the

person who uses it. The private key allows him to digitally sign messages such that

everyone else on the network can verify that the sender of the message is the person

who created the address rather than an imposter.

       30.    The address is conceptually similar to a username created for a typical

online service like a social media website or a hosted email server. The private key is

conceptually similar to a password for such services. Unlike with social media or

hosted email providers, however, Ethereum’s users are not “customers” in the

traditional sense. They are participants in a global computing system running on

open-source software. Open-source software means software that is distributed with

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its source code and permissive licensing, making it available for use, modification, and

distribution. Each participant in the Ethereum network can independently verify that

messages are signed correctly using publicly researched and published cryptographic

functions, and no participant need rely on any company, like a Facebook or a Google,

to do that verification on their behalf.

       31.    By sharing an address, users are able to receive tokens from anyone,

anywhere in the world. Unlike a traditional payment service, sending and receiving

tokens on Ethereum does not require an intermediary. Instead, the sender broadcasts

their intent to transfer tokens, digitally signs their message using the corresponding

private key, and Ethereum’s network collectively updates the global records of the

sender and receiver addresses with the new balances. At no point in this process does

a third party have control over, or take custody of, the tokens being transferred.

       32.    In addition to sending and receiving tokens, users can create and interact

with “smart contracts,” which are software applications that extend the functionality

of Ethereum. When software developers program smart contract applications, they

decide what operations the smart contract will support and what rules those

operations must follow. These rules and operations are written using code that is

broadcast to Ethereum’s network, just like the token transactions described above.

Once a smart contract’s code is added to Ethereum’s records, it receives a unique

address and can be interacted with by any user to automatically carry out the rules and

operations it supports.

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      33.    In essence, smart contracts are open-source applications that anyone can

deploy to Ethereum. Just like the rest of Ethereum, smart contract applications can be

viewed and used by anyone, anywhere, and without relying on an intermediary.

      34.    Both people and smart contracts can have Ethereum addresses. The

difference is that when a person has an address they have the private key that controls

any tokens sent to that address. That person will ultimately decide if and when any

transactions are made with those tokens. When a smart contract has an address, the

rules and operations written in the smart contract code control the tokens. They could

be simple rules – such as “automatically return the tokens to the sender” – or more

complicated rules. There could be rules that include human operations and human

decisions – such as “send the tokens back if 3 out of 5 of these human-controlled

addresses send a signed message saying they agree.”

      35.    The rules could also, however, be fully and permanently outside of any

human being’s control. In that case, so too are any tokens sent to that address until

and unless the contract sends them to some human according to the rules.

      36.    By default, smart contract applications are “immutable,” which means

they cannot be removed or modified (updated) by anyone once they are “deployed,” a

term of art for publishing the code to the Ethereum public ledger. It is possible for

the smart contract’s developers to include, in the contract code, the ability to update

functionality in the future as a supported operation. For example, the developers

could include the rule that “this human-controlled address can rewrite the contract in

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the future.” However, such an operation must be included in the smart contract’s code

prior to the smart contract’s deployment. Without the inclusion of updatability prior

to deployment, a smart contract’s code cannot ever again be modified by anyone.

      37.    If a contract is initially deployed with an update capability, it is also

possible to revoke that capability, thus foreclosing the possibility of future updates. To

do so, the person or group of persons who currently have the power to update the

contract must transfer that update permission to a placeholder Ethereum address for

which it is mathematically infeasible to derive a private key. All the computing power

in the world could be dedicated exclusively to creating a corresponding private key for

the next billion years and yet still no computer would likely succeed at creating that

matching key. Without a corresponding private key it is impossible for any person to

forge a correct digital signature updating the contract. This placeholder address is

known as “the zero address.” Once the ability to update a contract has been revoked,

it cannot be reclaimed and the contract can no longer be changed.

      38.    Unlike    traditional   finance,   Ethereum’s    records   are   completely

transparent: anyone can download and view the balances and transaction history of its

user accounts. Although user addresses are pseudonymous, if a real-world identity is

linked to a user address, it becomes possible to trace that user’s complete financial

history. Ethereum’s transparency is important for auditability, or verifying that updates

to records are valid. However, this transparency also makes it difficult for users to

protect their personal information. By default, a record of a casual transaction today,

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like paying cryptocurrency for Wi-Fi access at the airport, leads directly to records of

earlier cryptocurrency transactions, which may include any intimate, revealing, or

sensitive transactions made by the same user long ago.

      39.    Among the many different applications smart contracts may support,

they may also provide an avenue for users to regain the privacy they expect when

interacting with financial systems. Central to that privacy is the use of smart contracts

to break the public chain of records that would otherwise link one’s transaction today

to every transaction one has ever made in the past.

                                   OFAC ACTION

       40.   In its November 2022 designation of “Tornado Cash,” OFAC listed 90

Ethereum addresses.

       41.   The 90 listed addresses include 29 addresses that host the technology

and support functions that together constitute the core of the Tornado Cash Tool.

They are identified in full in Appendix B to this Declaration. These are the addresses

that allow users to move various assets and later release the same assets to a new

address, thereby obtaining transactional privacy.

       42.   The other 61 listed addresses are either non-functional, serve other

purposes, can be controlled by someone—such as a “decentralized autonomous

organization”—or share all of these characteristics.

       43.   All 90 addresses appear to be Ethereum addresses. OFAC listed all 90

with the prefix “Digital Currency Address - ETH,” which, in common usage, means

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that they refer to addresses on only the Ethereum public ledger, and not to addresses

on any other public ledger.

                 WHAT THE TORNADO CASH TOOL DOES

      44.    The Tornado Cash Tool is a series of smart contract applications that

allow users of Ethereum to protect their privacy when transacting despite the inherent

public visibility of transactions on Ethereum’s public ledger. It is to Ethereum users

what a set of drapes would be to someone with large picture windows in their

bedrooms.

      45.    The Tornado Cash Tool is an application made entirely of open-source

software, just like the software that powers the Ethereum network. That software was

originally developed by a group of individuals and companies, but these persons retain

no control or power over that tool. They have no more control or power over the tool

than, for example, Henry Phillips retains control or power over a phillips head

screwdriver in an American’s tool box today. Phillips drew up the blueprint for the

“+” screwdriver and made the design available to the public, but that never gave him

control over screwdrivers made according to the design.

      46.    To obtain transactional privacy using the tool, an Ethereum user sends

his tokens to a Tornado Cash Tool address on the Ethereum blockchain. The smart

contract published at that address locks those tokens, but allows the sender to release

them to a new, apparently unconnected Ethereum address at a later date.



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         47.   To anyone attempting to track the user’s activities across the Ethereum

blockchain, they will see that he moved tokens to a Tornado Cash Tool address, but

will not know which release from that address was under his control because it will be

sent to a new address with no obvious connection to the user’s earlier activities. All

that an outsider will see on the public ledger is something like the following:

         Time 1: [1 Ether] Known User Address → Tornado Cash Tool Address

         Time 2: [1 Ether] Tornado Cash Tool Address → New Address

That same user himself provides, at Time 2, for the release of the asset to an address

under his own control or under a chosen recipient’s control. The user also controls

how long to wait between Time 1 and Time 2. In between those two times, other

users may also move and release funds from the Tornado Cash Tool, so any given

user’s two transactions will be difficult to disambiguate from the transactions of other

users.

         48.   It is helpful to think of Tornado Cash as an extension of the Ethereum

protocol: Ethereum allows users to send tokens from address to address, and Tornado

Cash allows users to do that with privacy. Neither Ethereum nor Tornado Cash

requires users to put their trust in anyone while transacting, and neither allows any

third party to control the user’s assets while transacting.

         49.   There are at least 29 addresses that make up the core of the Tornado

Cash Tool. Many of these addresses correspond to a certain fixed amount of a certain

token (e.g. 100 Ether). This provides a user with a variety of different sized privacy

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tools for his toolbox. To move small amounts of ether, he can use the 0.1 ether core

address (at Ethereum address 0x12D66f87A04A9E220743712cE6d9bB1B5616B8Fc);

to move larger amounts of dai (another token) he can use the 1000 dai core address

(at Ethereum address 0xD4B88Df4D29F5CedD6857912842cff3b20C8Cfa3).

       50.    The software at these addresses is designed in this manner such that each

user using any given core address will always lock the same amount of the same token,

and then release the same amount of the same token later on. This makes each

interaction with any given core address look indistinguishable from other interactions

and other users, thereby protecting the user’s privacy from public view.

       51.    A user of the Tornado Cash Tool retains complete control of his assets

at all times. When he moves assets to a core address, he – and he alone – retains the

ability to release them at any time.

       52.    Because no person besides the user ever has control over the assets, the

Tornado Cash Tool is not like a bank that lends and invests assets once it receives

them; nor does it actively mix or commingle different people’s assets together. Rather,

the Tornado Cash Tool is like a safe deposit box room with a specific box for each

user that only he can unlock.

       53.    No other person or organization can use or control a user’s assets when

that user uses this privacy tool. The rules programmed into the core address smart

contracts are enforced by the Ethereum network itself and no third party could alter



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the functioning of those rules any more than they could alter the functioning of those

rules with respect to the entirety of the Ethereum network itself.

      54.    While it is true that software can conceivably have bugs that can

unexpectedly give a third party control over the systems or assets it secures, the

Tornado Cash Tool and the Ethereum network broadly have been used for years

without any such bug coming to light. Similarly, the fact that Microsoft’s word

processing software could have a bug that some third party could discover and use to

alter its functionality does not mean that this hypothetical third party has any control

over the words I’m typing into this declaration today.

      55.    All of this means that nobody controls the Tornado Cash Tool. It

consists of computer code that executes on a user’s command. Nobody can rewrite

the Tornado Cash Tool software as it exists at the 29 core addresses in order to

change how it works. And nobody can remove the Tornado Cash Tool software from

the Ethereum network. It is as permanent and immutable as is the entire Ethereum

public ledger within which it is published.

      56.    Many Ethereum users use the Tornado Cash Tool routinely to keep their

assets private and secure. Its use is widely regarded as a good practice for anyone who

wishes to participate in Ethereum responsibly.

                 HOW THE TORNADO CASH TOOL WORKS

      57.    Several technological points warrant more detailed description.



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       58.    First, users can withdraw only the specific tokens they originally

deposed.

       59.    Tornado Cash’s core addresses contain smart contract applications that

enable users to transact privately on Ethereum. When prompted by a user, core

address smart contracts will automatically carry out one of two supported operations:

“deposit” or “withdraw.” Together, these operations allow a user to deposit tokens

from one address and later withdraw those same tokens to a different address.

Crucially, even though these deposit and withdrawal events occur transparently on

Ethereum’s public ledger, any public link between the deposit and withdrawal

addresses is severed. The user is able to withdraw and use their funds without fear of

exposing their entire financial history to third parties.

       60.    In support of the deposit and withdrawal operations, the smart contracts

at the core addresses encode strict rules that further define their functionality. These

rules are automatically applied to the deposit and withdrawal operations to maintain a

very important property shared by all Tornado Cash core addresses: users can

withdraw only the specific tokens they originally deposited.

       61.    This property is enforced automatically for all core address smart

contract operations, and ensures that the Tornado Cash Tool is entirely non-custodial.

That is, a user who deposits and later withdraws tokens maintains total ownership and

control over their tokens, even as they pass through a core address. At no point does

the user relinquish control of their tokens to anyone.

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      62.    A key principle of the Tornado Cash Tool is that a user’s privacy is

derived in part from the simultaneous usage of the core addresses by many other

users. If the core address had only a single user, it wouldn’t matter that the link

between the user’s deposit and withdrawal addresses was severed: simple inference

would make it obvious where the withdrawn tokens came from. Instead, core

addresses are used by many users simultaneously. Think of it like a bank’s safe deposit

box room. Anyone can go and store valuables in a locked box in that room, and,

assuming the locks are good, only the person with the key can ever get those valuables

back. Security aside, however, this may or may not be privacy enhancing. If only one

person is ever seen going into and out of the room, then we know any valuables in

that room are theirs. If, on the other hand, many people frequently go into and out of

the room, then we have no way of knowing who controls which valuables in which

boxes. By guaranteeing the property that users can only withdraw tokens they

originally deposited, many users can simultaneously use these core addresses with the

assurance that no-one else will receive their tokens.

      63.    Traditionally, these assurances would be provided by a custodial service:

a bank in the safe deposit box example, or a group of people running a “mixing

service” in other common cryptocurrency arrangements. Mixing services like

Blender.io directly accept tokens from their clients, aggregate and mix them, and then

return the same quantity of funds to their clients (often taking some fee in the

process). During the intermediate aggregation and mixing stage, the funds in question

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are completely in the control of the operators of the mixing service and are

commingled. At the final stage of the mixing process, a user would receive funds

sourced from the myriad other users that also used the service.

       64.   In contrast, Tornado Cash Tool core addresses have no custodial

operator. In other words, no one has a private key that can control tokens sent to

those core addresses. And users can only ever withdraw the tokens that they can prove

they originally deposited – rather than a mixture of tokens from the other users of the

service.

       65.   Advanced mathematics makes this possible. Specifically, a user’s ability to

prove his entitlement to previously deposited tokens is ensured by important

properties of the software’s deposit and withdrawal operations, which are made

possible through the use of a privacy-preserving branch of mathematics called

“zero-knowledge cryptography.” Principles from zero-knowledge cryptography are

included in Tornado Cash’s smart contract code, much like principles of internal

combustion are included in the design of automobiles.

       66.   A “zero-knowledge proof ” is a cryptographic method by which one

party (the “prover”) can prove to another party (the “verifier”) that a given statement

is true without the prover conveying any additional information apart from the fact

that the statement is indeed true.

       67.   In the case of Tornado Cash, the “prover” is the user withdrawing

tokens from the core address, while the “verifier” is the smart contract software at

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that core address. When a user prompts the core address in order to withdraw his

tokens, the user must supply the address with a zero-knowledge proof. The smart

contract software automatically checks the input proof, only processing a withdrawal

if the proof is found to be valid.

       68.      Exactly what statement is being proven by the user and how they create

that proof is slightly more complicated, and requires a bit more detail on the deposit

process.

       69.      When a user wants to deposit tokens, they first generate a “deposit

note,” which is a long sequence of digits known only to the user. This is done privately

on the user’s own computer, and is never shared publicly. Next, the user prompts a

Tornado Cash core address to process the deposit. Along with this prompt, the user

supplies the tokens for deposit along with a hash, or encoded form, of their deposit

note. The core smart contract automatically records the encoded note as a new entry

in a public list of other users’ encoded notes. At this point, the depositing user has

completed the first part of the process, and retains the deposit note, which acts as a

receipt to withdraw the tokens later.

       70.      When a user is ready to withdraw their tokens, they first split their

deposit note in half. One side acts like a “secret,” and the other acts like a “lock.”

After that, the user prompts the core address to withdraw. Along with the prompt, the

user supplies:

             a. A hash (or encoded form) of the “lock,” and

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             b. A zero-knowledge proof, generated using the “secret” and the “lock”

       71.      The smart contract software uses these inputs to automatically verify –

that is, prove – the following:

             a. That the zero-knowledge proof was generated using the “secret.” It is

                the exact same “secret” that corresponds to one of the existing encoded

                notes in the core address’s public list of encoded notes. This proves that

                the tokens being withdrawn were previously deposited by someone.

             b. That the same proof also corresponds to the encoded form of the

                “lock” supplied with the proof. This proves that the person who is

                withdrawing the tokens must be the same person who deposited them.

             c. That the submitted “lock” has not been submitted previously. This

                proves that the deposit in question has not already been withdrawn.

       72.      Assuming the proof is verified, the core address automatically:

             a. Sends the user their tokens.

             b. Records the encoded “lock” in a public list of other users’ encoded

                locks, ensuring the same tokens cannot be withdrawn again.

       73.      Crucially, the above operations are carried out without the user ever

needing to reveal additional information about himself or his transactions to the

public. Specifically the user does not need to reveal which of many encoded notes the

proof corresponds to (i.e. who, among all Tornado Cash depositors, is now

withdrawing).

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      74.      Therefore, even though Ethereum is transparent – anyone can view the

transaction history and balance of any user account and anyone can view the

interaction history, balance, and code of a smart contract application – a user can

deposit into a Tornado Cash Tool address and later withdraw to a different address

without creating an obvious link to anyone observing Ethereum’s public records.

      75.      JP Morgan Chase previously built and tested a computer system, called

“Quorum,” for privately settling accounts between banks using the very same

zero-knowledge proof cryptography as Tornado Cash. Recently it has been reported

that they are testing a similar zero-knowledge system that, like Tornado Cash, runs on

the Ethereum network, called “Aztec.” These tools are widely regarded by top

researchers in cryptography and finance as state-of-the-art and essential for providing

privacy safeguards when using public ledgers to transact.

      76.      Second, it is still possible for users to show the path and source of their

funds after using the Tornado Cash Tool.

      77.      Tornado Cash was built to enable Ethereum’s users to reclaim their

privacy. Rather than exposing their complete financial history, Tornado Cash gives

users control over their personal information: both what is shared and with whom it is

shared. However, maintaining privacy and preserving control over one’s personal

information does not need to come at the expense of compliance with legal

obligations.



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       78.   To this end, the developers of Tornado Cash created the Tornado Cash

Compliance Tool. Users supply the tool with the original “deposit note” generated

during the core address deposit process to create a PDF report that provides proof of

the original source of the tokens. Although the public link between a user’s deposit

and withdrawal addresses was severed by the Tornado Cash Tool, the Compliance

Tool allows users to selectively “undo” this severance to provide traceability to third

parties.

       79.   The Compliance Tool is not a smart contract. However, just like the

other software described in this declaration, the Compliance Tool is also not a service

provided by Tornado Cash developers; it is an open-source software tool that is

available for free and can be used by anyone. Just as anyone could obtain a

breathalyzer tool in order to prove that he has not consumed alcohol, anyone can

obtain a copy of the Compliance Tool software in order to prove that the tokens he

controls in an otherwise anonymous address came from a non-criminal and

non-anonymous source, like another address that is publicly known to belong to him,

or an address that is known to belong to his employer or spouse.

       80.   One reason that a user may choose to use the Compliance Tool is that he

intends to send his tokens to a regulated cryptocurrency exchange who will exchange

them for dollars, such as Coinbase. Coinbase is a corporation that owns a

cryptocurrency trading platform. It is subject to the Bank Secrecy Act (BSA) and

therefore needs to perform customer due diligence with regard to incoming funds.

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Our hypothetical Tornado Cash user wishes to maintain his privacy as against the

general public, but is happy to restore the verifiable link between his past transactions

and his current transaction so that Coinbase can be sure he is not engaged in criminal

activity and can comply with its obligations under the BSA. Importantly, if the

customer only provides the PDF proof to Coinbase, then his privacy will be

maintained against malicious third parties and the public at large, even though he has

achieved a desirable level of auditable transparency with regard to Coinbase and

Coinbase’s financial integrity regulators.

       81.    Third, the nature of the Tool means that it cannot be taken down, can be

used unilaterally to implicate others, and can continue to be used by foreign terrorists.

       82.    Because the Tornado Cash Tool consists merely of software published to

the Ethereum public ledger and distributed automatically to every computer

connected to the Ethereum network, it is still available for use. The fact that no

intermediary is necessary for the Tornado Cash Tool to operate means that anyone

can send unsolicited crypto assets through the Tornado Cash Tool to Americans with

known Ethereum addresses. That means that the OFAC action has empowered any

bad actor to easily subject a law-abiding American to potential civil and criminal

liability and reporting obligations, through no fault of the American’s own.

       83.    This has happened. Soon after the criminalization of the Tornado Cash

Tool, an unknown person or persons sent small amounts of crypto assets through the



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Tornado Cash Tool to a wide range of celebrities and publicly known users of

Ethereum, including Jimmy Kimmel and Shaquile O’Neal.

      84.     The criminalization of the Tornado Cash Tool also does not prevent

foreign terrorists from using it. It remains online and available for any user. This past

January and February, for example, total user withdrawals from the various Ethereum

denominated core addresses ranged from $3 million to $8 million dollars per week

while user deposits ranged from $4 million to $16 million dollars per week.

      WHO CONTROLS THE TOOL AND THE ASSETS IT MOVES

      85.     Finally, it’s necessary to clarify and reemphasize who does and does not

have possession or control over assets when users use the Tool.

      86.     First, Americans can and do use the 29 challenged Tornado Cash Tool

addresses without any assets being controlled or possessed by anyone else, including

foreigners.

      87.     An American who sends his tokens to a core address must provide a

deposit note that is mathematically generated from a secret string of random digits

that only exist on his computer, unless he foolishly or negligently shares it. Barring

some discovery that long-established mathematical and scientific cryptographic

research is flawed – an upset that would likely invalidate all manner of secret-keeping

and security across all computer systems – no one except the user who retains that

secret code can control or move those tokens once deposited. If the American then

withdrawals his tokens to another address he controls, or to the address of an

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American company (e.g. Coinbase) or another American (e.g. his spouse), then at no

point in the transaction will any foreign person have had any control or financial

interest in the transaction.

       88.    A Tornado Cash transaction where the user withdraws to himself is

accurately analogized to an American moving his valuables and jewelry from one safe

within his home to another safe in his home. Either safe may have been manufactured

by foreigners, but they do not control or own those valuables today; the only person

with control and ownership is the American who knows the combination to the safe.

The safe, meanwhile, is not a party to the transaction; it is not a party at all. It is

merely technology used by an American to secure his own property.

       89.    Second, the Tornado Cash Tool does not mix or commingle user tokens.

       90.    There are two types of addresses on the Ethereum network, addresses

that are controlled by users, known as Externally Owned Accounts or EOAs, and

addresses that are controlled by the rules of a smart contract, known as contract

addresses.

       91.    Ethereum uses an account-based model for transactions between EOAs.

That means that each EOA has an account balance describing the number of tokens

in that account. When a transaction is made, the sender’s balance is reduced and the

recipient’s balance is increased appropriately. Therefore, all tokens sent to an EOA are,

effectively, commingled or mixed. They are part of a fungible balance of units and

anyone with the private key to that account has the ability to spend those tokens.

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      92.     The Tornado Cash core addresses, however, are not EOAs; they are

contract addresses. Ethereum’s rules allow a contract to add additional rules and

limitations to the otherwise simple transfer of funds between two addresses. The rules

of the Tornado Cash software ensure that only the specific person who deposited

certain tokens into that address is allowed to withdraw them. It is therefore important

to distinguish between the default qualities of an ordinary Ethereum EOA, in which

all assets are indeed commingled and mixed, and the specific rules of the Tornado

Cash Tool core addresses which prevent commingling amongst users.

      93.     In addition to ensuring that users only withdraw their own deposits,

these anti-mixing rules also allow for the proper functioning of the Compliance Tool.

If all deposited tokens were mixed and commingled, there would not be a way to

reliably reidentify whose deposits belonged to which depositor. Because the smart

contract limits the withdrawal of tokens to the person who can provide a valid proof

made from a secret code that only he has retained, a user’s subsequent revelation of

that code can prove, with mathematical certainty, which deposits were his own and

which were not. This is critical for a law-abiding American to prove to a regulated

financial institution that the source of his funds is legitimate and not a sanctioned

person or otherwise suspect from an anti-money-laundering or counter terrorism

standpoint.

      94.     Third, the founders and developers behind Tornado Cash have no

control over the 29 challenged Tornado Cash Tool addresses.

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      95.    Ethereum smart contracts are, by default, unalterable once they are

published to the Ethereum public ledger. A software developer can, should he wish,

publish a smart contract that allows for future modifications and can also remove or

destroy that future modification power if he wishes. Once that power is removed it

cannot be restored.

      96.    All of the 29 challenged Tornado Cash Tool addresses were either

deployed as unalterable or subsequently made unalterable. Therefore, the original

developers of the smart contracts retain no ability to alter the functioning of those

tools or otherwise control the assets of people who use those tools.

      97.    All of these limitations on modifications are mathematical and technical

limitations rather than limitations based on laws or human decision making. In other

words, the reason why these software authors cannot alter their published code is not

that an employer would fire them or a court would hold them liable, it’s that they are

unable to create a message altering the code on the Ethereum network that would be

mathematically valid.

      98.    Fourth, any “trusted setup ceremony” for the Tornado Cash Tool could

not have conferred power to alter the software at the 29 challenged Tornado Cash

Tool addresses to any participants in the ceremony.

      99.    A “trusted setup ceremony” is a customary procedure that helps ensure

the integrity of an important cryptocurrency operation called a “zero knowledge

proof.”

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       100. A zero knowledge proof is a short mathematical statement that proves

some fact about a larger calculation without revealing the details of that calculation.

       101. A simple example would be a proof that two numbers sum to 5 without

revealing whether those numbers are 2 and 3, or 1 and 4, or 0 and 5, or -1 and 6, etc.

       102. A proof has “integrity” if there is no way for a malicious actor to

generate a proof that appears valid even if the underlying calculation is not valid.

       103. A simple example of failed integrity would be if a person was able to

provide a proof that the two numbers they have chosen sum to 5 even though the

numbers they have chosen are 4 and 2.

       104. There are various ways to create zero knowledge proof systems, just as

there are many different cryptographic algorithms used by security professionals for

sending secret messages, or validating digital signatures.

       105. Some zero knowledge proof systems require a “trusted setup ceremony”

in order to have integrity.

       106. In a simplified sense, a trusted setup ceremony involves the creation of a

random number. This random number is referred to as “public parameters” in

academic computer science literature. The process of generating those public

parameters also results in the creation of a so-called “trapdoor number.” The setup

process assumes that the trapdoor number will be destroyed (i.e. forgotten or deleted

by the person or persons conducting the ceremony). If the trapdoor is retained, or if



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some person knows how to recreate the number, then it may be possible for that

person to generate proofs without integrity.

       107. To ensure that the trapdoor number is discarded, proof systems can be

generated in public wherein the calculation of the public parameters is cumulative and

many persons freely contribute to that ongoing calculation, deleting their part of the

resultant trapdoor number as they go. The trapdoor number is a danger to proof

integrity only if it is retained in its entirety, but each participant only generates a

portion of that number. So long as at least one participant deletes his part of the

trapdoor number, the integrity of the proof system will be guaranteed. This is true

even if every other participant cheats and retains their incomplete portions of the

trapdoor number. The cumulative generation of these public parameters is sometimes

referred to as a “multi-party compute ceremony” or, in the specific case of certain

zero knowledge proof systems, a “trusted setup ceremony.”

       108. If only one of the many parties contributing to the public parameters

calculation does so genuinely – i.e. does not collude with all the other participants in

order to retain and reconstruct the complete trapdoor number – then the resultant

proof system will have integrity. That is, the proof system will only allow users to

prove mathematically correct statements.

       109. The Tornado Cash Tool uses a zero knowledge proof system that

required a trusted setup ceremony to ensure that proofs of deposits would have

integrity.

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       110. Tornado Cash developers organized a trusted setup ceremony that was

open to the general public for free participation and 1,114 persons contributed to the

ceremony over a 10 day period. At the completion of the ceremony the results of the

calculation, the public parameters, were incorporated into the software found at the

Tornado Cash Tool core addresses.

       111. Some of the contributors to the ceremony were well-respected

developers and researchers in the cryptocurrency ecosystem and made their

participation public so as to stake their personal reputation on the validity of their part

of the computation, and others did so anonymously so as to make it more difficult for

some third party to attempt to find and compromise all participants. An attacker who

wanted to compromise the integrity of the proof system used by Tornado Cash

would, therefore, have needed to hack or collude with all 1,114 persons who chose to

participate. Participation involves running software on one’s computer that

automatically deletes one’s fragment of the trapdoor, so a successful attacker would

have needed to hack or collude with all 1,114 participants in advance of their

participation, maliciously altering the functioning of their computers to record and

retain the trapdoor number fragments rather than deleting them. There was no

prearranged list of participants and anyone interested and online was free to join the

ceremony as it was taking place. As such, after already hacking thousands of

computers around the world, a hypothetical hacker would still not know exactly whose



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computer he still needed to hack until the very last moment when the very last

volunteer contributor added his work to the cumulative ceremony.

      112. The likelihood that Tornado Cash’s trusted setup ceremony was

corrupted is therefore infinitesimal. Nonetheless, even if someone had corrupted the

ceremony that person would still not be able to alter the core Tornado Cash smart

contracts, because their immutability is guaranteed by the underlying Ethereum

network and has nothing to do with the trusted setup ceremony. The one thing an

attacker would be able to do is siphon all of the deposited tokens out of the core

addresses by creating bogus proofs of deposit. Given the fact that the core addresses

continue to have tokens left unwithdrawn to this day and given that people continue

to deposit to the core addresses, it is reasonable to infer that this has not happened.

      113. Participants in the trusted setup ceremony therefore have no control

over the use of the 29 challenged Tornado Cash Tool core addresses.

      114. Fifth, the Torn “DAO,” or “Decentralized Autonomous Organization,”

has no control over the use of the 29 challenged Tornado Cash Tool addresses.

      115. In some Ethereum smart contract projects, decision-making power over

whether and how to update the software in the smart contract is retained by a group

of persons who vote on updates using tokens. In the voting process, an Ethereum

address that holds n number of tokens gets n number of votes. This mode of

governance by token voting is often referred to as a “Decentralized Autonomous

Organization” or “DAO.”

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      116. One of the 90 sanctioned addresses was used to create and distribute a

token, called the Torn token, and some of the 90 sanctioned addresses – mainly

addresses that collect donations for funding future software development related to

privacy – allow for future modifications of their code or dispersions of the funds they

control, by a vote of Torn token holders.

      117. None of the 29 challenged Tornado Cash Tool core addresses allow for

future modifications by this DAO voting process or, as discussed earlier, by any other

process. These specific addresses cannot be changed and will continue to operate as

originally programmed irrespective of the actions of any of the Torn token holders or

the original software developers.

      118. The “Tornado Cash DAO” therefore has no control over the 29

challenged Tornado Cash Tool addresses.

      119. Sixth, the DAO cannot implement changes to these addresses through

the trusted setup ceremony.

      120. The Torn token DAO governance process and the trusted setup

ceremony are not related to one another in any property sense (as in shared ownership

and control) or mechanistic sense (as in ability to control or alter their respective

smart contracts on the Ethereum blockchain). Neither are the various Ethereum

smart contracts that facilitate the DAO governance process related, in any of these

senses, to the Tornado Cash core addresses that incorporated the trusted setup

ceremony’s calculation into their software.

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       121. The Tornado Cash trusted setup ceremony was performed in May of

2020, almost a year before the Torn token and associated DAO was created in

December of 2020. The resultant calculation from the ceremony was incorporated

into the software at the core addresses, over which no party, including the DAO, has

any control over or ability to upgrade.

       122. The trusted setup ceremony was merely the collaborative creation of a

random number input to a cryptographic calculation that was used to create the

software for the Tornado Cash Tool. The Tool was then made immutable and

incapable of future alteration via publication to the Ethereum blockchain at the core

addresses.

       123. The DAO, by contrast, was a subsequent scheme to create a governance

process related to other smart contracts at other addresses. These DAO smart

contracts were deployed to the Ethereum blockchain with future modification

enabled. (Defendant’s sanctioning of these DAO-controlled addresses, to reiterate, is

not challenged by Plaintiffs.)

       124. Seventh, the use of the 29 challenged Tornado Cash Tool addresses does

not profit the Tornado Cash developers or the DAO.

       125. As with any Ethereum transaction, a Tornado Cash user pays a fee to

have their transactions included in the Ethereum public ledger. That fee goes to third

parties who are validating transaction messages, bundling them into batches called

blocks, and incorporating those blocks into the Ethereum blockchain or public ledger.

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      126. These block creators cannot alter the transaction messages they place

into blocks because digital signatures are tamper proof. They therefore cannot redirect

or misdirect tokens that are being transferred in those transaction messages.

      127. Anyone can be a block creator on the Ethereum network by installing

the Ethereum software on their internet-connected computer and staking (i.e. proving

that they have possession of) a certain amount of ether. The reason for this staking

mechanism is to ensure that a non-zero cost is associated with performing the role of

block creation such that malicious actors will need to suffer a cost that they will be

unable to recoup should they attempt to spam the network with bogus or invalid

blocks. Many block creators are Americans.

      128. The only fee that a user of the 29 challenged Tornado Cash Tool

addresses must pay in order to use those tools to obtain privacy is the fee to the block

creator. At no point must they pay any fee or otherwise enrich any other party

including the original software developers or the Torn token holders.

      129. The use of the 29 challenged Tornado Cash Tool addresses therefore

does not profit founders or the DAO.

      130. Eighth, the use of the 29 challenged Tornado Cash Tool addresses need

not include any third-party “relayers.”

      131. A “relayer” is an independent operator who provides an optional service

for Tornado Cash users.



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       132. By default, when users prompt the Tornado Cash core addresses for

withdrawal, the address to which the user is withdrawing needs to already have ether

in it so that it can pay the Ethereum network to process the smart contract’s

operations. However, sending ether to the withdrawal address prior to withdrawal

might create a link between the user’s deposit and withdrawal address on the

Ethereum public ledger.

       133. Relayers, identified by their own Ethereum addresses, allow users to

process withdrawals without needing to pre-fund their withdrawal addresses, which

helps users maintain privacy when withdrawing.

       134. Users may select a relayer from a public Relayer Registry, another

sanctioned – but unchallenged – Tornado Cash smart contract. The user then uses

their withdrawal address to sign a transaction authorizing the relayer-assisted

withdrawal. The user sends this transaction to their selected relayer, who processes the

withdrawal on their behalf, earning a fee in the process. Note that even though they

process withdrawals on behalf of users, relayers never have custody over users’ tokens;

the smart contract ensures that withdrawn tokens are only ever sent to the user’s

withdrawal address and never to the address of the relayer.

       135. OFAC has not added any relayer addresses to the SDN List, but it has

added the smart contract that contains a registry of relayers to the list.




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       136. The use of relayers is entirely optional and users of the 29 challenged

Tornado Cash Tool addresses can and do obtain transactional privacy without paying

any fee to the registered relayers.

       137. At no point does a user of the 29 challenged addresses need to use any

of these registered relayers, nor pay any fee to these relayers, nor hold or purchase any

Torn tokens, nor pay any fee to anyone other than the Ethereum block creator who

incorporates his transaction into a block. Therefore, in no way does a user of the 29

core addresses need to enrich or otherwise profit any of these other parties.

       138. In summary, each of the core Tornado Cash Tool addresses is immutable

and operates at a user’s command. When a law-abiding American uses one of these

tools, at no point does that user or the tool he is using necessarily touch, control, alter,

or otherwise affect any property in which any foreign country or national thereof has

any interest. No foreigner has control over the 29 challenged Tornado Cash Tool

addresses, let alone an interest in transactions that Americans make with themselves

and each through those addresses.




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Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the

United States that the foregoing is true and correct.

Executed on March 14, 2023, in Washington, D.C.

                                                        _____________________
                                                        Peter Van Valkenburgh




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     (Oct. 26, 2022), perma.cc/ULD3-4FWU

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     Responsible Development of Digital Assets (Aug. 3, 2022),
     perma.cc/C4MG-CXF5




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     complex language. (Apr. 14, 2022), perma.cc/BD66-C2NF

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    Systems (Apr. 14, 2022), perma.cc/MF5M-GARF

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     facilitating transactions (Mar. 17, 2022), perma.cc/36K8-HT86

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     perma.cc/SV5E-KTC5

Van Valkenburgh, Comments to the Thirty-First Legislature (2022) of the State of
     Hawaii on S.B. No. 3076 relating to special purpose digital currency licensure
     and S.B. 3025 relating to digital currency licensing program (Feb. 10, 2022),
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Van Valkenburgh, IRS signals retreat in court battle that could reshape block reward
     taxation (Feb. 3, 2022), perma.cc/9J5Q-4HXH

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     exchanges (Jan. 26, 2022), perma.cc/JPR7-4E3F

Van Valkenburgh, How policymakers should think about “staking” (Jan. 24, 2022),
     perma.cc/59EH-FSCR




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                       Appendix B: Challenged Addresses



                                    Challenged Address

1     Digital Currency Address - ETH 0x12D66f87A04A9E220743712cE6d9bB1B5616B8Fc

2     Digital Currency Address - ETH 0x47CE0C6eD5B0Ce3d3A51fdb1C52DC66a7c3c2936

3     Digital Currency Address - ETH 0x910Cbd523D972eb0a6f4cAe4618aD62622b39DbF

4     Digital Currency Address - ETH 0xA160cdAB225685dA1d56aa342Ad8841c3b53f291

5     Digital Currency Address - ETH 0xD4B88Df4D29F5CedD6857912842cff3b20C8Cfa3

6     Digital Currency Address - ETH 0xFD8610d20aA15b7B2E3Be39B396a1bC3516c7144

7     Digital Currency Address - ETH 0x07687e702b410Fa43f4cB4Af7FA097918ffD2730

8     Digital Currency Address - ETH 0x23773E65ed146A459791799d01336DB287f25334

9     Digital Currency Address - ETH 0x22aaA7720ddd5388A3c0A3333430953C68f1849b

10    Digital Currency Address - ETH 0xBA214C1c1928a32Bffe790263E38B4Af9bFCD659

11    Digital Currency Address - ETH 0x03893a7c7463AE47D46bc7f091665f1893656003

12    Digital Currency Address - ETH 0x2717c5e28cf931547B621a5dddb772Ab6A35B701

13    Digital Currency Address - ETH 0xD21be7248e0197Ee08E0c20D4a96DEBdaC3D20Af

14    Digital Currency Address - ETH 0x4736dCf1b7A3d580672CcE6E7c65cd5cc9cFBa9D

15    Digital Currency Address - ETH 0xd96f2B1c14Db8458374d9Aca76E26c3D18364307

16    Digital Currency Address - ETH 0x169AD27A470D064DEDE56a2D3ff727986b15D52B

17    Digital Currency Address - ETH 0x0836222F2B2B24A3F36f98668Ed8F0B38D1a872f

18    Digital Currency Address - ETH 0x178169B423a011fff22B9e3F3abeA13414dDD0F1

19    Digital Currency Address - ETH 0x610B717796ad172B316836AC95a2ffad065CeaB4

20    Digital Currency Address - ETH 0xbB93e510BbCD0B7beb5A853875f9eC60275CF498

21    Digital Currency Address - ETH 0xCEe71753C9820f063b38FDbE4cFDAf1d3D928A80

22    Digital Currency Address - ETH 0x756C4628E57F7e7f8a459EC2752968360Cf4D1AA

23    Digital Currency Address - ETH 0x94C92F096437ab9958fC0A37F09348f30389Ae79


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24   Digital Currency Address - ETH 0xD82ed8786D7c69DC7e052F7A542AB047971E73d2

25   Digital Currency Address - ETH 0x88fd245fEdeC4A936e700f9173454D1931B4C307

26   Digital Currency Address - ETH 0x653477c392c16b0765603074f157314Cc4f40c32

27   Digital Currency Address - ETH 0x743494b60097A2230018079c02fe21a7B687EAA5

28   Digital Currency Address - ETH 0xDF3A408c53E5078af6e8fb2A85088D46Ee09A61b

29   Digital Currency Address - ETH 0x09193888b3f38C82dEdfda55259A82C0E7De875E




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